   Case: 3:13-cr-00072-TMR Doc #: 41 Filed: 09/27/13 Page: 1 of 2 PAGEID #: 216




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO
                     WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

                             Plaintiff,             :        Case No. 3:13-cr-072

                                                             District Judge Thomas M. Rose
       -   vs   -                                            Magistrate Judge Michael R. Merz

TYLER J. CHRISTIAN,


                             Defendant.             :



                     REPORT AND RECOMMENDATIONS


       The above-captioned action was referred to the undersigned under Fed. R. Crim. P. 59 for

waiver of indictment and change of plea proceedings. Defendant orally consented to conduct of

this proceeding before the United States Magistrate Judge.

       The undersigned examined Defendant under oath as to his understanding of the Plea

Agreement and the effect of entering a plea pursuant to that Agreement. Having conducted the

colloquy, the Magistrate Judge is persuaded the Defendant understands the rights waived by

entering a guilty plea and is competent to do so. The Magistrate Judge also concludes that

execution of the Plea Agreement, which was acknowledged in open court, is Defendant=s

voluntary, knowing, and intelligent act. It is therefore respectfully recommended that the Plea

Agreement be accepted.




                                               1
   Case: 3:13-cr-00072-TMR Doc #: 41 Filed: 09/27/13 Page: 2 of 2 PAGEID #: 217




       Defendant having executed the Plea Agreement, he tendered a plea of guilty to the

offense charged in Count One of the Indictment. The Magistrate Judge concludes the guilty plea

is knowing, intelligent, and voluntary and that the Statement of Facts made a part of the Plea

Agreement, whose truth Defendant acknowledged, provides a sufficient basis for a finding of

guilt. It is therefore respectfully recommended that the guilty plea be accepted and Defendant be

found guilty as charged in Count One of the Indictment.

       Anticipating the District Court=s adoption of this Report and Recommendations, the

Magistrate Judge referred the Defendant for a pre-sentence investigation, released him on a

conditional own recognizance bond, and set sentencing for July 9, 2010, at 10:30 A.M. in

Courtroom No. 2.

       September 26, 2013.

                                                               s/ Michael R. Merz
                                                              United States Magistrate Judge


                           NOTICE REGARDING OBJECTIONS

        Pursuant to Fed. R. Civ. P. 59(b)(2), any party may serve and file specific, written
objections to the proposed findings and recommendations within fourteen days after being served
with this Report and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended
to seventeen days because this Report is being served by one of the methods of service listed in
Fed. R. Civ. P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the
Report objected to and shall be accompanied by a memorandum of law in support of the
objections. If the Report and Recommendations are based in whole or in part upon matters
occurring of record at an oral hearing, the objecting party shall promptly arrange for the
transcription of the record, or such portions of it as all parties may agree upon or the Magistrate
Judge deems sufficient, unless the assigned District Judge otherwise directs. A party may
respond to another party=s objections within fourteen days after being served with a copy thereof.
Failure to make objections in accordance with this procedure may forfeit rights on appeal. See
United States v. Walters, 638 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).




                                                2
